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UNTI‘ED STATES DISTRICT COURT
FOR THE NORTHERN DISTR!CI` OF ILLINOIS

 

 

 

EASTERN DlVISION

LUDINGTON TECHNOLOGIES, INC.,
a Michigan corporation, and Civil Action No. 04C 8123
HAPP CONTROLS, NC., an Illinois
cotpomlion,

Plainti E's, Judge Manning

Ma.gistrate Judge Denlow

v.
BLIZZARD CORPORATION,
a Michigan corporation

Defendant.

MMS§AL

'I`his action comes before the Court on the pleadings and proceedings ofreoord md it has
been represented to the Court that plaintifc`s, Ludington Technologis. Inc. (hereina.&er
“Ludington") and Happ Controls, Inc. (hereinader “Happ Contmls”), and defendant, Blimard
Cerpemien (bereimner “Buzmd”), have agreed ce e settlement efen claims end counterclaims
am were er could beve` been brought by them in mae civil Aecien.

WI'IERBFORE, with the consent of plainh'.Es and defendant, through their undersigned

attorneys, it is hereby finally ORDERED, ADJUDGED and DECREED as follows:

 

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1. This Court has personal jurisdiction over the parties and the subject matter of
this action, including the enforcement of the Settlement Agreement entered into among the
parties.

2. Pm'sua:nt to the terms and conditions of the Seulement Agreemcnt entered into
between the parties, all claims, counterclaims and defenses of Ludington, Happ Controls, and
Blizzard are hereby dismissed with prejudice; however, either Ludington, Happ Controls, or
Blizzard shall have the right to take nlture action consistent with the Settlement Agreement.

3. Each party to this Order shall bear its own costs and attorneys’ fees.

SO ENTERED:

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